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 6

 7                                    IN THE UNITED STATES DISTRICT COURT

 8                                 FOR THE EASTERN DISTRICT OF CALIFORNIA

 9   UNITED STATES OF AMERICA,                             )   Case No. 2:11-CR-449-KJM
                                                           )
10            Plaintiff,                                   )   STIPULATION AND ORDER TO ALTER
                                                           )   BRIEFING SCHEDULE
11       v.                                                )
                                                           )   Date: August 18, 2014
12   BRYAN SCHWEDER, et al.,                               )   Time: 9:00 am
                                                           )   Judge: Hon. Kimberly J. Mueller
13            Defendants.                                  )
                                                           )
14                                                         )
                                                           )
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16             Pursuant to this Court’s May 23, 2014, Order (Dkt. No. 294), the parties are required to

17   submit any Dabuert or other in limine motions for the as-yet unscheduled evidentiary hearing on or

18   before August 8, 2014. After meeting and conferring to narrow the issues in dispute, the parties

19   agree that the motions are more complex than anticipated, and that an alteration of the briefing

20   schedule would permit the parties to submit moving and opposition papers of maximum use to the

21   Court. Therefore, the parties stipulate to an extension up to and including August 12, 2014, for

22   filing motions in limine or Daubert motions, and further agree that any opposition to such papers

23   should be due on or before August 20, 2014.

24             All other dates shall remain as currently scheduled. The parties will file the Joint Statement

25   required by the May 23, 2014, Order on August 8, 2014, and plan to appear at the August 18, 2014,

26   “pre-evidentiary hearing confirmation proceeding” on that date. Should the Court continue the

27   August 18, 2014, hearing until after the opposition papers are filed, Ms. Zilg advises the Court that

28   she is unavailable on August 25, 2014, due to an out-of-state Court appearance.

     Stip. and Order re Daubert/MILBriefing Schedule                                              1
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 1   RESPECTFULLY SUBMITTED,
 2   DATED: August 7, 2013                             BENJAMIN B. WAGNER
                                                       United States Attorney
 3
                                                       By:   /s/ Gregory T. Broderick___
 4                                                           GREGORY T. BRODERICK
                                                             Assistant United States Attorney
 5

 6   DATED: August 7, 2013
                                                       By:   /s/ Zenia K. Gilg__________
 7                                                           ZENIA K. GILG
                                                             Attorney for Defendant Brian Pickard
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     Stip. and Order re Daubert/MILBriefing Schedule                                     2
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 1                                                     ORDER

 2   IT IS SO ORDERED

 3   DATED: August 8, 2014.
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 6                                                        UNITED STATES DISTRICT JUDGE
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     Stip. and Order re Daubert/MILBriefing Schedule                                3
